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         ORDERED in the Southern District of Florida on June 1, 2020.




                                                              Erik P. Kimball, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________

                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                          West Palm Beach Division
                                            www.flsb.uscourts.gov

          In re:                                           Case No. 19-15509-BKC-EPK

          BRUCE STEVEN FRANK,                              Chapter 11

                Debtor.
          ___________________________________/

                        ORDER CONTINUING HEARING ON APPROVAL OF DISCLOSURE
                                 STATEMENT AND SETTING DEADLINES

                   THIS CAUSE came on before the Court on May 28, 2020 at 10:30 a.m., to consider

         approval of the Debtor’s Disclosure Statement [ECF No. 220]. The Court, having been

         advised that the Debtor, after consultation with the Office of the United States Trustee, will

         be filing an Amended Disclosure Statement, believes that it is prudent to continue the hearing

         on the approval of the Debtor’s Disclosure Statement and set certain deadlines. Therefore,

         it is

                   ORDERED as follows:

                   1.     The Debtor shall file an Amended Disclosure Statement no later than 4:00 p.m.

         on June 4, 2020.
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        2.     The hearing to consider the approval of the Debtor’s Disclosure Statement, as

amended, is continued to June 11, 2020 at 10:30 a.m. The hearing will be by telephone

only.    The    parties    are   instructed    to   consult    with    the    Court’s     website,

https://www.flsb.uscourts.gov, to ascertain how to appear by telephone.

        3.     The deadline to file and serve an objection to the Debtor’s Disclosure

Statement, as amended, is June 9, 2020.

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 Submitted by:

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Copies furnished to:

Zach B. Shelomith, Esq.

Attorney Shelomith is directed to serve copies of this order on all interested parties and to file
a certificate of service.
